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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

 IN RE:                                             CASE NO.: 18-22930-LMI

 MARIELA C. ROMAN                                   CHAPTER 7

       Debtor.
 ___________________________________/

 UNITED STATES’ RESPONSE TO DEBTOR’S MOTION FOR RECONSIDERATION
   OF ORDER DECLARING THAT AUTOMATIC STAY IS INAPPLICABLE TO
                      RESTITUTION JUDGMENT
       The United States of America (the “United States”), by and through the undersigned

Assistant United States Attorney, responds to the Debtor Mariela Roman’s (Roman) Motion for

Reconsideration of Order Declaring that Automatic Stay is Inapplicable to Restitution Judgment

(D.E. 61), and respectfully submits that the subject Order was properly entered. The Debtor’s

Motion for Reconsideration fails to set forth any legal arguments in support of her position that

the government is not entitled to relief from the automatic stay.

                                I.      BACKGROUND FACTS

       1.       On June 1, 2016, the United States District Court for the Southern District of

Florida entered a Judgment in a Criminal Case, ordering that Roman be imprisoned for a total

term of 49 months and directing Roman to pay criminal restitution in the amount of

$2,353,637.03. See D.E. 20, Exh. A.

       2.      The United States sought to pursue collection efforts with respect to the criminal

judgment and filed a Motion for Order Declaring that Automatic Stay is Inapplicable to

Restitution Judgment (D.E. 20).
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       3.      After a hearing on November 28, 2018, the Court granted the United States’

Motion and found that the automatic stay does not apply to the United States’ efforts to collect

and enforce its restitution judgment against Roman (D.E. 32).

       4.      The Debtor subsequently filed a Motion for Reconsideration asking the Court to

reconsider the Order finding that the automatic stay does not apply to the restitution judgment.

                                        II. ARGUMENT

       5.      As set forth in the United States’ Motion, the “criminal action or proceeding”

exception under 11 U.S.C. § 362(b)(1) allows the United States to enforce restitution orders against

property of the debtor. United States v. Robinson, 494 B.R. 715, 719 (W.D. Tenn. 2013) aff'd sub

nom. In re Robinson, 764 F.3d 554 (6th Cir. 2014) (affirming holding that automatic stay did not

apply to prevent United States from enforcing prepetition restitution orders against both debtor’s

assets and the assets of the bankruptcy estate); In re Bibbs, 282 B.R. 876 (Bankr. E.D. Ark.

2002)(holding that automatic stay did not apply to criminal proceedings, including enforcement of

orders to pay fines and restitution).

       6.      In relevant part, 18 U.S.C. § 3613 provides that “[n]ot withstanding any other

Federal law. . . a judgment imposing [restitution] may be enforced against all property or rights to

property of the person [ordered to pay restitution.]” Id; (emphasis added). In construing the

“notwithstanding” clause, the Supreme Court and the circuit courts have indicated that this

language supersedes conflicting laws. Robinson, 764 F.3d at 560.

       7.      Specifically, courts have noted that 18 U.S.C. § 3613(a) is a “powerful and far-

reaching” statute that supersedes § 541 and § 362. Id. e.g., United States v. Hyde, 497 F.3d 103,

108 (1st Cir.2007) (holding that “notwithstanding” language is obvious; therefore, “neither

Massachusetts law nor the Bankruptcy Code restricts the reach of [§ 3613's] clear language”).
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          8.     Accordingly, when the United States seeks to enforce a criminal fine or restitution

order, it may seek to collect against both property of the Debtor and property of the Debtor’s

bankruptcy estate. Robinson, 764 F.3d at 554.

          9.     The bankruptcy court is not the proper forum for a determination to be made as to

what enforcement actions the United States may take in order to enforce the criminal restitution

judgment entered against Mariela Roman. Only the district court may enforce the criminal

restitution judgment and direct what assets of the Debtor may be applied toward that judgment.

For the reasons set forth above, the United States is entitled to a determination that the automatic

stay does not apply to a criminal restitution judgment

          10.    The Debtor’s reliance on the case of Honeycutt v. United States, 137 S. Ct. 1626

(2017) is misplaced. Honeycutt was a forfeiture action; the issue in this case involves a

restitution judgment. Enforcement of a criminal restitution judgment does not require that the

government show that the assets were acquired as a result of the criminal activity. The

applicable statute, 18 U.S.C. § 3613, provides that a judgment imposing a fine or restitution may

be enforced against all property or rights to property of the person fined with limited exceptions,

none of which apply to the Debtor.

          For these reasons, the United States requests that Debtor’s Motion for Reconsideration be

denied.

                                                      Respectfully submitted,

                                                      ARIANA FAJARDO ORSHAN
                                                      UNITED STATES ATTORNEY

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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 19, 2019, I electronically filed the foregoing
document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
is being served this day by transmission of Notices of Electronic Filing generated by CM/ECF
to those parties registered to receive electronic notices of filing in this case or via U.S. mail as
listed in the below Service List.
VIA CM/ECF:

18-22930-LMI Notice will be electronically mailed to:

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VIA U.S. MAIL on February 19, 2019:

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                                                         s/Marlene Rodriguez
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